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EXHIBIT 24
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MARY ELIZABETH REICH

January 4, 2012
Page 1 Page 3[:
1 UNITED STATES DISTRICT COURT 1 JEFFREY A. DANZIG :
3 OUTCRY ONS ICHIGAN 2 Fieger, Fieger, Kenney, Giroux & Danzig, PC :
4 NATIONWIDE LIFE INSURANCE 3 19390 West Ten Mile Road 2
1a tape :
5 Paint) on 4 Southfield, Michigan 48075 .
Counter-Defendant, 5 248.355.5555 :
6 vs. Case No. . . :
Leev-12422-AC-MKM 6 jdanzig@fiegerlaw.com e
7 Hon. Aver Cohn i i i j .
WILLIAM KEENE, JENNIFER KEENE, 7 Appearing on behaif of Monica Lynne Lupiloff, Nicole b
8 MONICA LYNNE LUPILOFF, NICOLE 8 Renee Lupiloff and Nicole Renee Lupiloff, personal
RENEE LUPILOFF and NICOLE RENEE i i
9 LUPILOFF, PERSONAL REPRESENTATIVE 9 representative of the Estate of Gary Lupiloff,
OF THE ESTATE OF GARY LUPILOFF, 10 deceased.
10 DECEASED, 11
Defendants,
il and 12. JOHN H. BREDELL
12 MONICA LYNNE LUPILOFF, NICOLE
RENEE LUPILOFF and NICOLE RENEE 13 Bredell & Bredell
13 LUPILOFF, PERSONAL REPRESENTATIVE 14 119 North Huron Street
OF THE ESTATE OF GARY LUPILOFF, Janti. Michi
14 DECEASED, 15 Ypsilanti, Michigan 48197
Defendants/ 16 734.482.5000
1S Counter-Plaintiffs and 5
Cross-Piaintiffs, 17 = jbredeli@bredell.com
16 vs. 18 Appearing on behalf of William and Jennifer Keene.
17 WILLIAM KEENE, JENNIFER KEENE, 19
Individually, jointly and severally,
18 Defendants/ 20
Cross-Defendants. 21
19
20 The Deposition of MARY ELIZABETH (BETSY) REICH, 22
21 Taken at 1050 Wilshire Drive, Suite 320, 23
22 Troy, Michigan,
23 Commencing at 3:18 p.m., 24
24 Wednesday, January 4, 2012, 25
25 Before Lezlie A. Setchell, CSR-2404, RPR, CRR.
Page 2 Page 4 ;
1 APPEARANCES: 1 MICHAEL D. FISHMAN
2 2 Law Office of Michael D. Fishman, PLLC
3 MICHAEL F. SCHMIDT 3 255 East Brown Street
4 Harvey Kruse, PC 4 Suite 310
5 1050 Wilshire Drive 5 Birmingham, Michigan 48009
6 Suite 320 6 248.258.6688
7 Troy, Michigan 48084 7 — fishman@sports-gallery.com
8 248.649.7800 8 Appearing on behalf of the witness.
9 mschmidt@harveykruse.com 9
10 Appearing on behalf of the 10
il Plaintiff/Counter-Defendant. 11
12 12
13. ALBERT L. HOLTZ 15 Ss
14 Albert L. Holtz, PC 14 PB
15 3910 Telegraph Road 15 :
16 Suite 200 16
17 Bloomfield Hills, Michigan 48302 17 é
18 248.593.5000 18 =
19 aholtz@lipsonneilson.com 19
20 Appearing on behalf of Monica Lynne Lupiloff, Nicole | 20 ;
21 Renee Lupiloff and Nicole Renee Lupiloff, personal 21 g
22 representative of the Estate of Gary Lupiloff, 22 ;
23 deceased. 23 E
24 24 f
25

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MARY ELIZABETH REICH

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Page 5 Page 7 '
1 TABLE OF CONTENTS 1 A. Yes. ;
2 WITNESS PAGE 2 Q. Will you please teil us your name? :
3. MARY ELIZABETH (BETSY) REICH 3 A. Mary Elizabeth Betsy Reich. :
4 4 Q. And your current employer? §
5 EXAMINATION 5 A. Huntington Insurance.
6 BY MR. SCHMIDT: 6 6 Q. And that's located in what city? i
7 EXAMINATION 7 A. Birmingham.
8 BY MR. DANZIG: 24 8 Q. And approximately how long have you worked there?
9 EXAMINATION 9 A. It'll be two years this March ist.
10 BY MR. BREDELL: 61 10 Q. Andis that an independent insurance agency?
11 RE-EXAMINATION 11 A. Itis.
12 BY MR. DANZIG: 75 12 Q. Prior to that had you been employed by Nationwide
13 RE-EXAMINATION 13 Insurance Company?
14 BY MR. BREDELL: 80 14 A. Correct. :
15 15 Q. And what was your job for Nationwide?
16 EXHIBITS 16 A. Iwas an agent.
17 EXHIBIT PAGE 17 Q. And where was your office?
18 (Exhibits retained by counsel.) 18 A. It was in Birmingham, Bloomfield and Birmingham.
19 19 Q. Different locations? :
20 DEPOSITION EXHIBIT 1 8 20 A. Yes. :
21 DEPOSITION EXHIBIT 2 9 21 Q. Now this case pertains to a lawsuit conceming a life
22 DEPOSITION EXHIBIT 3 12 22 insurance policy that was issued on the life of Gary
23 DEPOSITION EXHIBIT 4 13 23 Lupiloff. Do you recall selling an insurance policy
24 DEPOSITION EXHIBIT 5 14 24 _ to Gary Lupitoff, insuring Gary Lupiloff?
25 25 A. Yes.
;
Page 6 Page 8]:
1 Troy, Michigan 1 MARKED FOR IDENTIFICATION: :
2 Wednesday, January 4, 2012 2 DEPOSITION EXHIBIT 1
3 3:18 p.m. 3 3:20 p.m.
4 MARY ELIZABETH (BETSY) REICH, 4 BY MR. SCHMIDT: :
5 was thereupon called as a witness herein, and after 5 Q. Let me hand you what's been marked as Exhibit 1. Can |°
6 having first been duly sworn to testify to the truth, 6 you tell us what that document is? It's titled
7 the whole truth and nothing but the truth, was 7 something. What's it titled? :
8 examined and testified as follows: 8 A. New Account Suitability Form.
9 9 Q. Andis that a document that you recall using as a F
10 MR. SCHMIDT: Let the record show this is 10 Nationwide agent? :
11 the deposition of Mary Elizabeth Reich taken pursuant iil A. I don't recall but it's obviously a form of :
12 to Notice under the Federal Rules of Civil Procedure 12 Nationwide's.
13 to be used for the purposes provided therein. 13. Q. This occurred back in 2003 or so?
14 EXAMINATION 14 A. Idon't recall. I was looking to see if there was a Me
15 BY MR. SCHMIDT: 15 date. :
16 Q. Ms. Reich, I'm going to ask you some questions about a | 16 MR. BREDELL: You don't have extra copies i
17 lawsuit fited by Nationwide Insurance Company. Please | 17 of exhibits? E
18 listen to the question. If you understand it, answer 18 MR. SCHMIDT: No, I don't. :
19 it. If you don’t, let me know and I can repeat or 19 MR. BREDELL: I just want to see it :
20 rephrase it. Is that understandable? 20 MR. SCHMIDT: You guys got all these :
21 A. Yep. 21 things. :
22 Q. And please give a verbal answer to every question so 22 MR. BREDELL: 1 just wanted to see which FE
23 the court reporter can take it down, and try to stay 23 one you're looking at. F
24 away from words like uh-huh, so either say yes, no, or 24 MR. FISHMAN: Here you go.
25 some other complete answer. Is that understandable? 25 MR. BREDELL: Thank you.

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Page 9 Page ll].
1 MARKED FOR IDENTIFICATION: 1 A. Yes.
2 DEPOSITION EXHIBIT 2 2 Q. And you have not seen a copy of that lately?
3 3:21 p.m. 3 A. No.
4° BY MR. SCHMIDT: 4 Q. And do you have any recall, would you have obtained
5 Q. Then I'l hand you what's marked as Exhibit 2, and can 5 that either -- do you remember who you got that
6 you tell us what that is? 6 document from?
7 A. Itsays New Account Suitability Form Addendum. 7 A. Idonot.
8 Q. Okay. And once again, do you recall that being a 8 MR. DANZIG: Want to identify what the
9 Nationwide form that you were familiar with or not? 9 document was?
10 A. I don't recall, but it appears to be a Nationwide 10 THE WITNESS: I can't other than it was a
11 form. 11 legal written document.
12. Q. Is that your handwriting on there? 12 BY MR. SCHMIDT:
13° OAL Itis. 13. Q. And your understanding was that was supposed to
14 Q. And going back to Exhibit Number 1, is anything on 14 explain the business deal between Mr. Lupiloff and
is that your handwriting? i5 Mr. Keene?
16 A. Yes. 16 A. Correct, the arrangement for needing life insurance.
17 Q. I think there's an attachment to Exhibit 1? 17 Q. You don't have any records from your job as a ;
18 A. Yes. 18 Nationwide agent, do you? :
19 Q. The last page, which these have Bates Numbers on them, | 19 A. No. Everything had to be supplied back to them. :
20 the last page being Bates Numbered 411, the last page 20 Q. Okay. So is it your understanding that after E
21 of Exhibit 1, Can you tell us, if you recall, what 21 Nationwide received this documentation, they said to E
22 that document is? 22 go ahead and proceed to have an application prepared ‘
23 A. That would be an attached -- it's a summary sheet | 23 for this policy?
24 describing the purpose of the life insurance policy. 24 A. This would have gone in with the application. :
25 Q. Okay. So if you recalt from this transaction, was 25 MARKED FOR IDENTIFICATION: ;
Page 10 Page 12 3
1 this kind of a different kind of a transaction for a 1 DEPOSITION EXHIBIT 3
2 life insurance policy than you normally would be 2 3:24 p.m.
3 involved with? 3 BY MR. SCHMIDT: :
4 A. Could you rephrase that? I don't -- 4 Q. Okay. Let me hand you what's marked as Exhibit 3 and |:
5 Q. Well, the fact that you have two people that are 5 ask if you can tell me what that is?
6 apparently unrelated wanting to purchase a life 6 A. This would be -- this looks like the application.
7 insurance policy, is that something that was normal or 7 Q. Okay. And is that signed by Mr. Lupiloff? ps
8 different? 8 A. Icansee it's all filled out by him, it's his :
9 A. It's not -- I wouldn't say abnormal but it's 9 writing, and it is signed by him, yes. e
10 different. 10 Q. You're able to recognize his handwriting?
11 Q. Okay. In those situations did Nationwide require some 11 A. Yeah. :
12 additional documentation as to what the transaction is 12 Q. And what's the date of the application; is it dated? i
13 about for their underwriting purposes? 13 A. It's dated November looks like -- looks like :
14 A. Correct, yes. 14 November 11th, 2003. :
15 Q. And is that why the new account suitability forms 15 Q. And the type of policy that was being applied for,
16 would be filled out for that situation? 16 what was it?
17 A. No. Those would be filled out with every situation. 17 A. Itwasa term policy.
18 Q. How about that memo that's Page 411; Is that something 18 Q. A term life policy?
19 that would be pertaining to that type of a situation? 19 A. Aterm life Insurance policy, yes. ?
20 A. It appears that that is something additional that they | 20 Q. And on whose life was it being issued? i
21 did ask for, yes. 21 A. The insured life was Gary Lupiloff, Gary Harmon ps
22 Q. Allright. Do you recall whether there was actually 22 Lupiloff. fe
23 some type of a legal type document that you had to 23 Q. And Gary Harmon Lupiloff was a client of yours as an f
24 obtain from either Mr. Lupiloff or Mr. Keene regarding 24 insurance agent? e
25 their transaction to send to Nationwide Underwriting? 25 A. Yes.

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MARY ELIZABETH REICH

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Page 13 Page 15
1 Q. And you knew him before this transaction? 1 BY MR. SCHMIDT:
2 A. Yes. 2 Q. Let me hand you what's been marked as Exhibit 5, and
3  Q. Had you sold him any other insurance before this? 3 when that happened, who approached you, if you recall,
4 A. Idon't recall if before this -- I don't recall. 4 was it Mr. Lupiloff or Mr. Keene, about changing the
5 Other insurance was sold to him, but I don't recall if | 5 ownership?
6 it was prior to this. 6 A. I don't recall who made the first approach.
7 MARKED FOR IDENTIFICATION: 7 Q. Okay. But you do recall talking to both Mr. Keene and
8 DEPOSITION EXHIBIT 4 8 Mr. Lupiloff about that?
9 3:26 p.m. 9 A. Yes.
10 BY MR. SCHMIDT: 10 Q. And in Exhibit Number 5 there, we have several
11 Q. Now let me show you Exhibit 4, if you can tell me what 11 documents. Do you recall which document was first,
12 that is? 12 the change of beneficiary or the change of ownership?
13 A. I don't know the front sheet what that is, but this [| 13 A. I don't recall but it would have made sense to be the
14 appears to be a copy of the actual policy. 14 change of ownership.
15 Q. And that's the policy issued on the life of Gary 15 Q. The change of ownership form is Page 175?
16 Lupiloff? 16 A. Yes.
17 A. That's what it says, correct. 17 Q. And that changes the owner of the policy from
18 Q. Included on that policy, the page as a matter of fact 18 Mr. Lupiloff to Mr. Keene?
19 you have it opened to right there, Page 304, does that 19 A. Correct.
20 show the premiums for that policy? 20 Q. Do you recall discussing that with Mr. Lupiloff before
21 A. That does. 21 that occurred?
22 Q. And it shows his age at the issuance was 46 years old? 22 A. Yes,
23 A. Yes, 23 Q. And what was your discussion with Mr. Lupiloff about
24 Q. And it looks like for the first 10 years, the premium 24 that?
25 was $1,000 -- 25 A. Just the typical protocol would be to explain what the
Page 14 Page 16}:
1 A. $1,030. 1 ramifications were of changing ownership.
2 Q. And that was each year for the first 10 years? 2 Q. Such as?
3 A. Yes. 3 A. You no longer control the policy.
4 Q. And after that it goes up? 4 Q. So would you say -- did you give him information
5 A. Itspikes up based on your age. 5 advising him not to do it or just telling him what the
6 Q. And from then on it spikes up every so often higher 6 problems would be if he did do it?
7 and higher. By age 71, how much is that? 7 A. I don't recall other than to say that I would
8 A. Soatage 71, it would have been $52,915. 8 typically with any client, I would advise against it. |:
9 Q. Fora year? 9 Q. And in response to your discussion, did Mr. Lupiloff :
10 A. Correct. 10 advise that he still wanted to proceed?
11 Q. And then by 78 it's $106,480? 11 A. Correct.
12 A. Yep. 12 Q,. And that form, Page 175, that's signed by
13. Q. Now were you aware there came a time when Mr. Lupiloff | 13 Mr. Lupiloff?
14 advised that he wanted to change the beneficiary and 14 A. Correct.
15 the ownership of the policy? 15 Q. Okay. And then there's another form that's part of
16 A. Can you restate that? 16 the exhibit. It’s actually a two-page form, 170 and
17 Q. Did there come a time when you learned that -- 17 171. That's the change of beneficiary?
18 A. It was two questions. 18 A. Correct.
19 Q. Okay, good. Was there a time that came that you 19 Q. And the beneficiary, the primary beneficiary is
20 learned that Mr. Lupiloff or Mr. Keene wanted to 20 William Keene?
21 change the ownership of the policy? 21 =A. Correct.
22 A. Yes, 22 Q. And the contingent beneficiary is Jennifer Keene?
23 MARKED FOR IDENTIFICATION: 23 A. Correct.
24 DEPOSITION EXHIBIT 5 24 Q. And that document is signed by Mr. Lupiloff?
25 3:29 p.m. 25 A. Correct.

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MARY ELIZABETH REICH

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Page 17 Page 19 |!
1 Q. Andit's also signed by you? 1 right to you or not? fs
2 A. Correct. 2 A. Idon't know.
3  Q. And the change of beneficiary, that's dated 4-4-07, 3 Q. You have no idea?
4 the signatures? 4 A. Hedid that directly, I believe, through Nationwide.
5 A. 4-4-07. 5 Q. So you weren't part of that transaction?
6 Q. And that's the same day that the change of ownership 6 A. Correct.
7 is dated? 7 MR. DANZIG: Which change are you referring
8 A. Correct. 8 to, Mike?
9 Q. So do you recall that all happening at the same time? 9 MR. SCHMIDT: Change of payor.
10 A. Idonot. 10 MR. DANZIG: Thank you.
11 Q. And then you would have eventually sent those to ii A. I don't recall being part of that transaction.
12 Nationwide, correct? 12. BY MR. SCHMIDT:
13° A. Correct. 13 Q. During the course of this policy when it was in force,
14 Q. The first page of Exhibit 5, Page 169, is that the fax 14 did you ever get any calls from Mr. Keene asking if
15 from you to Nationwide Underwriting? 15 the premiums were being paid?
16 A. That's correct. 16 A. Yes,
i7 MR, DANZIG: Mike, 169 did you say? 17 Q. How often would you get those?
18 MR. SCHMIDT: Yes. 18 A. About once a month.
19 MR. DANZIG: Thank you. 19 Q. And that's something you would have to check for him?
20 BY MR. SCHMIDT: 20 A. No. Wetold him we couldn't advise him of that.
21 Q. And that's sending them the two different forms? 21 Q. You would direct him who to call for that?
22 A. Correct. 22 A. You know, it would be myself or my staff. I know when
23 Q. The change of beneficiary and the change of ownership | 23 I spoke with him, I would say, you know, we could not
24 forms? 24 tell him that.
25 A. It says six pages, so I'm guessing correct. 25 Q. Would you tell him who to call?
Page 18 Page 20 |:
1 Q. Do you know If sometime -- let me ask you this. Do 1 A. Because he was not the owner of the policy at that
2 you know who was paying the premiums on that policy up 2 time, and if it was -- you know, I think protocol
3 until that time, if you know? 3 with Nationwide Is if it cancelled, I imagine the
4 A. Two different people. 4 beneficiary gets notified. I don't even know.
5 Q. Who was paying them? 5 Q. Okay. Do you know if he called you after he became
6 A. Mr. Lupiloff was paying and Mr. Keene had paid some. 6 the owner to see if the premiums were being paid?
7 So I'm not sure who paid how much. 7 A. I don't recall. ,
8 Q. Who would have kept the record as to who was paying 8 Q. Did you ever -- fet me ask you, did you hear about
9 that, though? 9 Mr. Lupiloff being murdered?
10 A. Nationwide. 10 A. Yes.
11 Q. The agent office or Nationwide's office? 11 Q. And how did you hear that? 4
12 A. Nationwide. The bill is sent directly, you know, to 12 A. Ireceived a cail from one of my prior staff who saw |.
13 the cient, and they send it in or call it in or 13 it on the news.
14 whatever they do. 14 Q. At that time were you still working for Nationwide?
15 Q. Okay. Did there come a time that you're aware of iS A. Iwas not.
16 where the payor of the policy was changed to Mr, Keene 16 Q. Did you receive a call from Mr. Keene in regard to
17 on Nationwide's records? 17 Mr. Lupiloff being murdered?
18 A. Idon’t recall when, but I do know that it had 18 A. Yes.
19 changed. 19 Q. When did you get that call?
20 Q. And It was changed so that Keene was then the person 20 A. That same next morning I guess it was.
21 who was paying the premiums? 21 Q. And did you speak to Mr. Keene or was it a voicemail?
. 22 A. Correct, but I'm not sure at that point how much was [| 22 A. I received a voicemail, and then I called him back.
23 paid. 23 Q. And do you recall what Mr. Keene had to say about
24 Q. According to Nationwide's records, that happened on -- 24 whatever?
25 the change was on October 9, '07. Does that sound 25 MR. HOLTZ: I was just unclear when the

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MARY ELIZABETH REICH
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1 next morning was. Was it the morning after the murder 1 2010. So would it have been just a month or two fe
2 or the moming after the call? 2 later, six months tater, or what are we tatking about?
3 BY MR. SCHMIDT: 3 A. Idon't recall how often. There were numerous calls. 2
4 Q. When you say next moring, what -- 4 Q > How many calls approximately were there? F
5 A. I'm not certain if it was the morning after the murder 5 A. Oh, gees, I can't recall. .
6 occurred. I got a call simultaneously that I took 6 Q. More than 10? :
7 first from a staff person telling me that he had just 7 Az Yes. :
8 been murdered the night before, so I'm guessing. But 8 Q. More than 20?
9 again, I don't know what the exact date was. 9 A. Idon't recall.
10 Q. Your best memory is it would have been the day after 10 Q. Have you had any calls from anyone on behalf of the
11 the murder? li Lupiloff Family Estate?
12 A. It was very close if it wasn't the day after. 12 A. No.
13° Q. Okay. And do you recall what the message was from 13° Q. Other than the document we discussed a while ago, this
14 Mr. Keene? 14 legal document that you recall you obtained from
15 A. Idon't recall the full message. 1S Lupiloff or Keene about their transaction, did you .
16 Q. And do you recall what the phone call was about? Did 16 ever see any other documents regarding their business °
17 you call him back? 17 transactions other than that dacument?
18 A. Icalled him back. He had feft me a message. I 18 A. No.
19 called him back. He was essentially letting me know 19 Q. And your best memory of the transaction or situation
20 that Gary had been killed, and he wanted to remind me | 20 would be that memo that you did as part of Exhibit 1, :
21 about the life insurance policy and wanted to meet 21 Page 411; that's your best, a summary of your best I
22 with me to go through the process. 22 memory of what their transaction was? :
23. Q. And what did you tell him? 23 A. Correct. :
24 A. I told him I was no longer the agent on the policy, 24 MR. SCHMIDT: Okay. That's all the
25 and I referred him to the new agent who was servicing | 25 questions I have. Thank you.
Page 22 Page 24
1 my book at that time. t EXAMINATION :
2 Q. And do you recall who the new agent was? 2 BY MR. DANZIG:
3. A. Yes, Robert Pliskow, P-L-1-S-K-O-W. 3  Q. Ms. Reich, my name is Jeffrey Danzig, 1 represent the
4 Q. Did you ever speak to Mr. Pliskow about Mr. Keene 4 Lupiloff Estate, and I have some questions for you.
5 calling him up or about the policy? 5 What Id like to do is first go over some of the
6 A. Did I what? 6 things that have already been discussed and then maybe |-
7 Q. Did you follow up with Mr. Pliskow at all about that 7 ask you some new questions. .
8 issue? 8 As an agent for Nationwide Insurance
9 A. Idid. I called Mr. Pliskow and let him know he would | 9 Company, I assume there's some routine protocols that
10 be receiving a call, and I can't recall, but I believe 10 you engage in when you bind over a life insurance
11 he said he already heard from him. ll policy, especially a term life policy, correct; you go
12 Q. Did you have any further contact with Mr. Keene after 12 through certain routines.
13 that? 13. A. For insurance policies.
14 A. Yes, 14 Q. Alf insurance policies?
15. Q. What other contact did you have? 15 A. Yes.
16 A. He's called me several times. 16 Q. And when there are change requests for those policies,
17. Q. About what? 17 there is certain other protocols that you follow,
18 =A. I don't recall entirely. He's called me to inquire 18 correct?
19 about the process and just to fill me in on, you know, {19 A. There would be, yes.
20 his, you know, talking about, you know, what his take | 20 Q. Is it your experience that when a change of ownership
21 on the whole situation is and etcetera, etcetera. 21 or a change of beneficiary request takes place, that
22 Q. And would those calls have been around the time of the 22 there would be a home office endorsement from the
23 murder or after that time? 23 company? Fe
24 A. Well, obviously after. 24 A, What do you mean by home office endorsement? 5
25 Q. But how many, like -- okay — that was July 13 of 25 Q. They approve it, they endorse it, they sign off on it? i

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1 A. Certainly. 1 BY MR. DANZIG: z

2 Q. Okay. And should that happen on both the change of 2 Q. I'm asking you if there appears to be an endorsed

3 ownership as well as the change of beneficiary? 3 signature on that document at the bottom of the page?

4 A. Yes. 4 MR. FISHMAN: She got the question.

5 Q. Okay. Are you aware after looking at the forms that 5 MR. DANZIG: I'm just clarifying it.

6 we've shown you or counsel has shown you today whether 6 A. Idon't even know where it would be on this particular

7 or not there was an endorsement from Nationwide on the 7 form.

8 change of ownership and the change of beneficiary 8 BY MR. DANZIG:

9 forms? 9 Q. T'llshow you. It says in a box on the bottom of the
10 A. I don't recall. 10 Page: Agreed to for Nationwide Life Insurance
11 Q. Tf you look at Exhibit 5, can you tell me whether or 11 Company, Nationwide Life and Annuity Insurance Company
12 not on the change of ownership there's a company 12 by Thomas Barnes, Secretary.

13 endorsement? 13 And then to the right of that box, there's

14 A. These are just the applications, so no. 14 a signature. Did I state that fairly?

15 Q. There is a location in each form, just look at the 15 A. Yes. :

16 change of ownership form for a minute, there's a 16 Q. Do you see the signature?

17 location for home office only, correct? 17 A. Ido.

18 A. Correct. . 18 Q. Does that appear to be an endorsement by the secretary

19 Q. That's usually where a signature appears of a company 19 of Nationwide?

20 representative endorsing the change, correct? 20 MR. SCHMIDT: Objection, no foundation she

21 MR. SCHMIDT: I object. There's no 21 knows what it’s on there for.

22 foundation she knows how that works. 22 MR. DANZIG: I just asked whether it

23 A. I don't know once I send something in what happens. | 23 appears to be a signature of the individual stated.

24 BY MR. DANZIG: 24 MR. SCHMIDT: There's no foundation she :

25 Q. Asan agent for Nationwide, you're not familiar with 25 would know whether that's his signature or not. This :

;

Page 26 Page 28 :

1 how the home office endorses and confirms policy 1 is not part of her job.

2 changes; is that what you're saying? 2 A, I donot know whose signature that is.

3 A. I'm not aware of what steps they take. 3 BY MR. DANZIG:

4 Q. I'mnot asking you what steps they take. I'm asking 4 Q. Okay. Notwithstanding the fact that you don't know

5 you whether or not they endorse changes in policies 5 whose signature that is, is that the location where

6 that you put through for your clients? 6 there is typically an endorsement by the company?

7 MR. SCHMIDT: Same objection. I don't 7 MR. SCHMIDT: No foundation.

8 think there's any foundation she knows how that works. 8 BY MR. DANZIG:

9 MR. DANZIG: Objection is noted counsel. 9 Q. You can answer.
10 BY MR. DANZIG: 10 (A. After that paperwork is filled out by me, we do not
11 Q. T'lltake your answer. 1i receive anything back, so I would not see if it was
12 A. I would say that because we have to have paperwork 12 endorsed or not.
13 signed, that would imply that they would have to make | 13 Q. Okay. Notwithstanding the fact whether you get a :
14 an approval. Otherwise -- that's all I would know. 14 document back and see whether it's endorsed or not,

15 Q. Can I see the document, please? 15 are you telling me that you're not aware of whether or
16 A. Sure. 16 not Nationwide, the home office endorses changes in
17 Q. Would you look at the change of beneficiary 17 policies that you put through?

18 designation form that was filled out and signed by you 18 A. They have to make approval of changes in policies.
19 and tell me on Bates Number 0171 whether there's an 19 Q. That's my point, and by approving, you'd normally see
20 endorsement that appears in the proper location where 20 someone -- strike that.

a1 you would normally expect one on that document? 21 By approving, you would think that someone
22 MR. SCHMIDT: Same objection. There's no 22 signs off on it in one way or another?

23 foundation she knows how that works. 23 A. I don't know how they do that.

24 MR. DANZIG: I'm not asking her how it 24 Q. Okay. You would agree with me, would you not, that
25 works. 25 when looking at the change of beneficiary designation

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1 and the change of ownership designation, there's a 1 A. I don't recall which office.
2 signature of endorsement in the beneficiary change but 2 Q. You were in one of your offices?
3 not one In the ownership change; is that fair? 3. A. We were in, yeah, in an office.
4 Do you understand my question? 4 Q. Okay. It could be any office. What I'm wondering is
5 A. Ido. 5 if you were in one of your offices?
6 Q. Okay, good. I wanted to make sure it was clear, 6 A. It could have been Gary's office as well.
7 MR. SCHMIDT: No foundation. She doesn't 7 Q. Okay. Where was Gary's office?
8 know where it goes or if it's supposed to be there or 8 A. Idon't recall at that point which office he was in,
9 not. I don't know how she could answer that question. 9 if it was Pontiac or -- he had several locations over
10 BY MR. DANZIG: 10 the years.
11 Q. Would you agree there's a signature of endorsement on il Q. Let's go back.
12 the change of beneficiary but not one on the change of 12 A. I'mover 50. I'm sorry.
13 ownership? 13 Q. It's okay. So am I and I do the same thing.
14 A. On these particular forms, you're correct. 14 The original application was in 2003 for
15 Q. Okay. Does that make sense to you as an agent for 15 this term life insurance policy, right?
16 Nationwide that there would be an endorsement on one 16 A. Yes.
17 where there's a change of beneficiary request but not 17° Q. And I think you were asked whether or not you knew
18 one on the change of ownership request? 18 Gary Lupiloff before this term life insurance policy
19 MR. SCHMIDT: I'm just going to object. 19 was applied for, and I think you said you did?
20 There's no foundation that that's an endorsement. She 20 A. Yes.
21 doesn't even know what that is. You're making her 21 Q. Would it be fair to state that you had binded some
22 assume something she doesn't know what that is or what | 22 insurance for him in the past, maybe some auto
23 that's talking about. 23 insurance?
24 MR. DANZIG: So your objection is noted. 24 A. I don't recall if it was prior to this or not. ;
25 MR. SCHMIDT: I object to the form of the 25 Q. But you knew him?
Page 30 Page 32
1 question. 1 A. Oh, yeah. i
2 MR. DANZIG: Good. 2 Q. Ina business sense?
3 BY MR. DANZIG: 3. A. Yeah, I knew him because of his business as well.
4 Q. Can you tell me, does it make sense to you? 4 Q. Okay. And would you recail knowing him in relation to
5 A. I don't think this is a matter of what makes sense or | 5 your work as an agent for Nationwide having done sorne
6 not. I don't know what their process is. 6 business with him in the past? :
7 Q. You said previously, I think you said it this way, it 7 A. Again, I don't know what came first as far as policies
8 makes sense that the change of ownership would come 8 with him. :
9 first and then a change of beneficiary would come 9 Q. Okay. So you're not sure whether or not you bound any
10 second? 10 previous policies for Gary Lupiloff before 2003?
li A. Or simultaneously. 11 A. Idon't remember.
12 Q. Does it make sense to you that change of ownership 12. Q. Okay. But you think you knew him before 2003? :
13 might have to take place before you change a 13. A. Oh, I did know him. 8
14 beneficiary? 14 Q. And did you like him?
15 A. It doesn’t have to. 15 A. Yeah.
16 Q. If you're changing ownership, does it make sense that 16 Q. Did you get along with him?
17 it would go one and then the other? 17 A. Sure. .
18 A. It doesn't have to. 18 Q. It was a cordial, congenial relationship? :
19 Q. Okay. In this instance do you believe that it was 19 A. Uh-huh.
20 simultaneous? 20 Q. Yes?
21 A. Idon't recall. 21 A. Yes. :
22 Q. You were present on April 7th of 2007 when these 22 Q. Got along with him?
23 changes were made, right? 23 A. Yes.
24° «A. Twas. 24 Q. Okay. When you had conversations with him, your
25 Q. Where were you at the time? 25 conversations were smooth and easy? :
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1 A. Yes. 1 Q Okay. Do you understand my question? They're making
2 Q. Meaning you didn't have arguments or fights about 2 objections, and you can answer if you understand the
3 differences of opinion? 3 question.
4 A. No. 4 A. Rephrase it.
5 Q. Okay. And you gave him advice as an agent as one 5 Q. Sure. I started with the underwriting process and
6 normally would when he needed it? 6 wanting verification of the nature of their 5
7 =A. Well, again, I don't know what prior to that we had | 7 relationship. Now that years later the policy is :
8 partaken in for insurance. 8 intending to change in terms of ownership and :
9 Q. Okay. Now when this transaction came about in 2003, 9 beneficiary, would you agree that standard format ;
10 you felt as an agent this was an unusual transaction, 10 would be the company would want to also exercise due :
11 it was different? 11 diligence and make sure this transaction is
12 A. Different. It's not unusual because obviously 12 appropriate?
13 Nationwide had forms to allow it. 13 MR. SCHMIDT: Same objection, no foundation
14 Q. Okay. But it was different, and tell me how it was 14 she knows how that works.
i5 different in your mind. 15 A. Icalled the underwriter. They provided the forms
16 A. Different because it's a business transaction, is the | 16 that needed to be filled out, and I don't know what
17 basis for the life insurance, and so not two related 17 they do beyond that to make, you know, sure that
18 persons. To me that was different. It's not husband | 18 that's all they need.
19 and wife. It's not, you know, parents and children. 19 BY MR. DANZIG:
20 Q. So the fact that the term policy of life insurance was 20 Q. How many years were you an agent for Nationwide?
21 being bound as a business transaction amongst 21 A. For 14 years.
22 unrelated persons made it different? 22 Q. And in those 14 years, you never learned about the
23 A. Yes. 23 company’s desire for due diligence and due process in
24 Q. Okay. And the company underwriting required 24 -
25 additional verification of the nature of their 25 A. I think that's textbook requirement of life insurance
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1 relationship? 1 that you should have insurable interest, and they have
2 A. Correct. 2 their own procedures that I'm not -- for underwriting
3  Q. They wanted some verification before approval, 3 a person's health, for everything. So that's not part
4 correct? 4 of my job. I just provide what they require me to
5 A. That would be my understanding, yes. 5 provide.
6 Q. Because the company, as far as you knew, didn't want} 6 Q. In your 14 years of experience as an agent for
7 to bind the policy until they had assurances that this 7 Nationwide, did you learn that they like to do things
8 was on the up-and-up, true? 8 a certain way, and they would require you to do
9 A. They have to show insurable interest. 9 things, certain things in a certain way, or was it
10 Q. And basically, if you would agree or disagree with me, | 10 just --
11 the company is doing its due diligence as far as 11 A. In my 14 years at Nationwide, the forms, the
12 whether or not it would be appropriate to bind this 12 procedures, the protocol changed several times. So
13 policy over between these two individuals? 13 where they were in that particular year could have
14 A. That's their job, I guess. 14 been different the next year.
15 Q. You would agree that's what they're doing? 15 Q. Okay. Had you ever met Bill Keene in person before
16 A. Underwriter's position. 16 the change request was made? .
17 Q. Would you agree with me that if the change of 17 A. Yes. .
18 ownership is taking place, the company should likely 18 Q. In person or on the phone or both? P
19 do its due diligence to determine and verify that this 19 A. In person, on the phone, both. :
20 iS an appropriate transaction, do you agree? 20 Q. What was the context in which you met him in person? i
21 MR. SCHMIDT: No foundation she knows what | 21 A. He had stopped in my office in the very beginning of — |.
22 underwriting does. 22 the whole process.
23 MR. BREDELL: Or appropriate for who? I 23 Q. When you first met him, did you have a cordial f
24 guess I object to the form of the question. 24 relationship with him? :
25 BY MR. DANZIG: 25 A. Yes.
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1 Q. Did you have any difficulties with him in any way? 1 dated October 19, 2006. It's on Nationwide :
2 A. No, just that he was constantly calling, and we 2 letterhead, it's Bates 225, and if I can stand over
3 weren't allowed to really share with him the 3 you for a moment. T'll let you read it first.
4 information. 4 First of all, it's a fetter that's cc'd to
5 Q. Because he wasn't the owner? 5 you as the agent, correct?
6 A. Correct. 6 A. Yes, I see that.
7 Q. And you'd want to share the information with the owner 7 Q. Andit's dated October 19th, 2006?
8 as opposed to a beneficiary at that time? 8 A. Yep.
9 A. Correct. He would call to ask various questions and 9 Q. At face value does it appear to be a request or
10 things that I could not share with him. 10 response to a request for information about
11 Q. When Gary Lupiloff first applied for the policy, did j1 beneficiaries on the policy?
12 he tell you that one of his interests was in 12 A. Correct. ‘
B protecting his children as contingent beneficiaries? 13 Q. Someone, perhaps Mr. Lupiloff or somebody else, is |
14 A. Yes. 14 making an inquiry about who the beneficiaries are?
15 Q. Was that a significant concern of his in terms of the 15 A. Correct, it appears that way.
16 life insurance policy he was binding over? 16 Q. Do you recall this document?
17 A. I don't recall how significant but it was a concern as | 17 A. No.
18 stated in the memo. 18 Q. Do you recall receiving the document?
19 Q. And it stated what in the memo that you're referring 19 A. No.
20 to? I don't know what memo you're referring to. In 20 Q. This is prior to the change request in 2007 of April, |:
21 the document that's right in front of you? 21 correct? The change request I'll tell you was in :
22 A. Yes, it was, you know, attached, the initial intent, 22 Aprit of 2007. :
23 Q. That's the exhibit, the back exhibit to Exhibit 1, 23 MR. SCHMIDT: 4-4-07 it's dated.
24 correct? 24 A. Oh, I'm sorry, you're right, yep.
25 A. Page 0411, 25 BY MR. DANZIG:
Page 38 Page 40 :
iQ. Thank you. And it indicates there that it is his 1 Q, So about six months before the change request, S
2 desire to have his children as the contingent 2 information is coming to Mr. Lupiloff about who the
3 beneficiaries, correct? 3 beneficiaries are on this policy, correct?
4 A. Uh-huh. 4 A. Right.
5 Q. Yes? 5 Q. Do you have any recollection of the events surrounding
6 A. Yes. 6 this document? :
7 Q. That's also on the application that he made out, 7 A. Idonot.
8 correct? 8 Q. From what you knew of Gary Lupiloff, was he someone :
9 A. That's correct. 9 who might forget who the beneficiaries were of his own
10 Q. Andit's also on the formal application, Exhibit 3, 10 life insurance policy? :
1i where he signed the application in writing where he 11 A. He could have called and we could have looked those |"
12 indicated his children were going to be the contingent 12 up.
13 beneficiaries, correct? 13 Q. Right. 3
14 A. Correct. 14 A. Yeah. .
15 Q. Do you recalt anything in particular that Gary 15 Q. Does it strike you as unusual that someone is making
16 Lupiloff would have said to you about his children and ‘| 16 an inquiry about who the beneficiaries are of this f
17 his desire to insure their interests? 17 policy six months before a change request is going to :
18 A. No. 18 be made?
19 Q. Other than the fact that it appears on these documents | 19 A. I would guess so.
20 that we've referenced, there is nothing extraneous 20 Q. When you were approached by Gary Lupiloff -- strike
21 that you recall independently of the documents in that 21 that.
22 regard? 22 Bo you know who first approached you
23 A. No. 23 regarding a change request?
24 Q. I want to understand the context -- strike that. 24 A. I donot recall.
25 I want to show you a document. This is 25 Q. It could have been either/or; you're not sure as you

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1 sit here today who made or initiated the request? 1 Mr. Keene?
2 A. Who made the first request, no. 2 A. I don't remember.
3  Q. It could have been either/or, Mr. Keene or 3  Q. Do you recall speaking with Mr. Lupiloff on the phone
4 Mr. Lupiloff? 4 before your meeting of April 4th, 2007?
5 A. Correct. 5 A. Certainly.
6 Q. You're not sure as you sit here today? 6 Q. Do you recall him expressing to you his desire to
7 A. Idon't remember who first broached the subject. | 7 retain his kids as contingent beneficiaries?
8 Q. Okay. And wherever this meeting took place, there was | 8 A. I don't recall that.
9 a meeting on April 4th, 2007, whereby the change 9 Q. Do you recall Mr. Lupiloff telling you that he had
10 request for both ownership and beneficiary was placed 10 some concerns with regards to any change request that
11 into action by way of forms filed and signed? 11 was going to be made?
12 A. Signed. 12 A. He had no concerns regarding the change. .
13° Q. And as you sit here taday, you simply can't recall 13. Q. Okay. He never expressed to you any concerns over the
14 where that took place? 14 effectuation of the change of ownership or
15 A. I don't recall. 15 beneficiary?
16 Q. Did you have any private conversations with Gary 16 A. No.
17 Lupiloff before the change requests were put into 17 Q. What concerns did you have, if any, because you
18 effect? 18 indicated previously that --
19 A. Define "private". 19 A. Just simply that you would lose control over the
20 Q. Did you have a conversation in any location where 20 policy, as well as who the beneficiaries could be.
21 Mr. Keene wasn't present where you were advising 21 Q. Is that all you said to him?
22 Mr. Lupiioff of what the effect of the change would 22 A. Yes.
23 be? 23 Q. Did you tell him specifically that his kids would lose
24 A. Yes. 24 out as contingent beneficiaries if he made this
25 Q. Okay. Do you recall Mr. Keene being separate and 25 change?
Page 42 Page 44
1 apart from that conversation? 1 A. I don't know how specific, I don't recall the exact
2 =A. Yes. 2 words.
3. Q. Do you recall where that took place? 3 Q.. Did it appear to you at any time in any of these
4 A. There were several conversations. I don't recall 4 conversations over the phone or in person that
5 where they took place. 5 Mr. Lupiloff was being compelled to make these
6 Q. Were any of those conversations before the meeting of 6 changes?
7 April 4th, 2007? 7 A. What do you mean compelled?
8 A. Yes. 8 Q. Forced, coerced?
9 Q. Sois it then fair to state that you were appraised of 9 A. No, not to my knowledge, no.
10 a change request before the actual date of April 4th, 10 Q. Okay. No such indications were made or expressed to
il 2007? i you by Mr. Lupiloff?
12 A. Qh, yes. 12 A. No.
13 Q. And how long had you known that that was going to take | 13 Q. Were both Mr. Keene and Mr. Lupiloff together in some
14 place? 14 environment that you don't recall on April 4th, 2007?
15 A. Idon't recall. 15 A. No.
16 Q. Amonth, six months, a year? 16 Q. They were both not present on that date?
17 A. I don't recall. 17 A. They were both present separately on that date.
18 Q. Okay. Do you have a belief that it was longer than a 18 Q. Okay. What do you mean separately? I'm not sure I
19 month, if you know? 19 understand what that means.
20 A. Idon't recall. 20 A. They were not in the room together. I did not meet
21 Q. Okay. 21 with them each at the same time.
22 A. It could have been, it could not have been. Idon't | 22 Q. Okay. Were they in the same office environment, or
23 really recall. 23 was somebody on the phone and someone physically
24 Q. Okay. Do you have an understanding as to who made the | 24 present?
25 first request to you, whether it was Mr. Lupiloff or 25 A. They were both eventually physically present.
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1 Q. When you say eventually, does that mean one was there | 1 A. Yes.

2 before the other? 2 Q. Show me again.

3. A. Correct. 3 MR. FISHMAN: Do you want to see it?

4 Q. Who was there first? 4 MR. DANZIG: Please.

5 A. ButI don't even recall where the signatures took 5 BY MR. DANZIG:

6 place for Gary. I don't remember if we did that at 6 Q. And can you tell me what you understand to be the

7 his office because we met several times or if it was 7 requirement of the change of beneficiary designation

8 in my office. I don't recall that. 8 form regarding an attestation of a witness?

9 Q. Do you recall being -- 9 A. It's my understanding that a person can change the
10 A. But he was present. 10 beneficiary if they're the owner of the policy. These
11 Q.. Gary Lupiloff? 11 forms all came together at one time from Nationwide's
12 A. Yes. It's protocol to have the person sign in front 12 Service Center, and they were required to be all
13 of me, yes. 13 filled out at one time.

14 Q. Do you know for a fact that that took place? 14 Q. You can't change a beneficiary designation if you're

15 A. Yes, is not the owner, right?

16 Q. That Gary Lupiloff signed this document? 16 A. Correct.

17 A. Yes. 17 Q. And so would it not make sense to you that if you want

18 Q. The change request for ownership and beneficiary? 18 to change the owner in order to change the

19 A. Yes. 19 beneficiary, there should be a witness for that as

20 Q. CanI have Exhibit 5, please. 20 well?

ai Did you witness both the change of 21 A. It may make sense but it's not required.

22 ownership and the change of beneficiary? 22 Q. Okay. Is it required that Nationwide approve of both

23 A. Signatures, yes. 23 of the change of ownership forms --

24 Q. Here is the change of beneficiary, and that appears to 24 «A. Of course.

25 have your signature on it, correct? 25 MR. SCHMIDT: Objection, she doesn't know
Page 46 Page 48}?

1 A. Yes. 1 what their approval is.

2 Q. Flip two pages over and you'll see the change of 2 A. The process of having a form would imply that there's

3 ownership form. Where is your signature there? 3 an approval.

4 A. I'm not saying I signed it. 1 witnessed his 4 BY MR. DANZIG:

5 signature. 5 @. Do you know of your own knowledge whether or not

6 Q. Where did you witness it? 6 Nationwide approved of the change of ownership form

7 A. Wherever it was we were located that he signed it. | 7 changing the owner from Gary Lupiloff to William

8 Oh, you're saying in a literal sense. I'm sorry. I 8 Keene; do you know that that took place as you sit

9 was thinking you meant did I see it. 9 here today?

10 Q. No. I meant did you see it and sign it? 10 A. Idon't recall other than paperwork on the screens
11 A. I misunderstood. I'm sorry. I'm not an attorney. 11 coming over, it would have, I guess, changed over.
12. Q. I'm not expecting that. Listen to my question because 12 Q. Well, I assume that you submitted it in the proper

13 I'm jooking for a clear answer. 13 fashion, Did you get anything back approving it that

14 You executed a signature as a witness to 14 you can recall?

15 the change of beneficiary form on April 4th, 2007, 15 A. Idon‘t recall that we would get anything back,

16 attesting to Gary Lupiloffs signature, correct? 16 perhaps a letter. I don’t recall.

17 A. That's correct. 17 Q. As you sit here today, you're not aware of any

18 Q. Did you execute a signature on the change of ownership | 18 approval by Natlonwide confirming the change of

19 form reflecting your attestation as a witness to his 19 ownership by a company representative; is that fair?

20 signature on April 4th, 2007, to that document? 20 A. Idon't recall.

21 A. No, it's not required. 21 Q. You don't recall receiving it?

22. Q. Why not? 22 A. Correct.

23 A. It's not on the form for me to do that. 23 Q. When Gary Lupiloff signed the change of beneficiary

24 Q,. Isit on the form of a change of beneficiary for you 24 designation, he was in your physica! presence?

25 to do that? 25 A. He was.

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1 Q. Was Mr. Keene present at that time, if you recall? 1 A. Iquess,
2 A. Not at the same time but he was present when he did 2 Q. That would be the procedure that you followed?
3 his signature. 3 A. I don't recall what came first.
4 Q. Okay. Was Mr, Keene in another room when Mr. Lupiloff 4 Q. The chicken or the egg?
5 signed? 5 A. You know, I just know that they were signed by Gary.
6 A. No. 6 Q. Okay. Excuse me for asking this question because it
7 Q. So when you say he wasn't physically present, I'm 7 may seem absurd to you based upon your previous
8 having trouble understanding what that means. 8 answers, but where was Keene when Lupiloff signed that
9 A. They both signed on the same day but not at the same | 9 document in front of you?
10 time. 10 A. Idon't know. He was not present,
11 Q. Well, Mr. Keene wouldn't have signed anything 11 Q. He was in the office somewhere?
12 regarding the change of beneficiary designation 12 A. No.

13 because there is no signature of his on this document, 13. Q. He wasn't physically present at that time?
14 correct? 14 A. No. He came into the office, to my office-office ata
15 A. Not if it's not required. 15 separate time.
16 Q. So my question is: Was he physically present at the 16 Q. That day or some other day?
17 time that Lupiloff signed the change of beneficiary 17 A, That day.
18 farm? 18 Q. For what purpose?
19 MR. FISHMAN: Asked and answered. I think 19 A. All I know is that he was interested in knowing if the
20 she keeps telling you that they signed on the same day 20 Paperwork was done.
21 but not the same room. 21 Q. He was anxious to hear that Mr. Lupiloff had signed
22 MR, BREDELL: A different time of day? 22 over the ownership and beneficiary designations to
23 MR. DANZIG: Well, that's what I'm trying 23 him, right?
24 to figure out. You guys can keep testifying, but I'd 24 A. Yes.
25 like her to tell me what happened. 25 Q. And thereafter he continued to be very anxlous about
Page 50 Page 52 :
1 MR. BREDELL: She's told you four times. 1 the nature of his position in relation to this policy,
2 MR. DANZIG: No, she hasn't. 2 correct?
3 MR. FISHMAN: Yeah, she has. 3 A. Idon't recall hearing from him much after all of this
4 MR. DANZIG: She doesn't recall exactly 4 transpired.
5 where they were. 5  Q. Other than the phone calls you got repeatedly after my
6 THE WITNESS: Well, I know for a fact they 6 client died?
7 were not present in the same room at the same time. I | 7 A. Correct.
8 can tell you that. 8 Q. Did you formulate any thoughts of your own about what
9 BY MR. DANZIG: 9 was going on at that time considering the timing and
10 Q. Okay. Now -- 10 repetition of the calls? :
11 A. They weren't even in the same vicinity to my 11 A. At what time? :
12 knowledge. 12. Q. After my client died and the next day or so you
13 Q. Flip over to the first page of that document, of the 13 started getting calls from Keene, did you formulate :
14 change of beneficiary form. Was that filled out 14 any thoughts or opinions in that regard about what was :
15 before Lupiloff signed on Page 2? 15 going on? ;
16 A. Yep. 16 A. Imean, it concerned me.
17) Q. Who filled it out? 17 Q. Why?
18 A. I filled it out. 18 A. Because I thought it was odd that he would be calling
19 Q. That's your writing there? 19 tight away. He asked if I remembered who he was, and
20 A. That's my writing. 20 of course I did, you know, because of all that we had,
21 Q. Okay. You recognize it as your own? 21 you know, initlaliy gone through and hearing about
22 A. Yep. 22 Gary passing away. Yes, of course, you know, his name

23 Q, Okay. So you would have filled out that form and then | 23 was familiar to me.
24 had Gary Lupiloff sign the second page, and then you 24 Q. Wasn't he calling you before the death to make sure
25 would have witnessed it after he signed? the premiums were being paid as well? I think you

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Page 53 Page 55 |:
1 testified to that. 1 A. Correct.
2 A. I think at that time he was already Paying the 2 Q. Otherwise, you're paying out good money for bad,
3 Premiums, so I don't recalt him calling me. 3 right? .
4 Q. You testified that you received calls from Keene 4 A. Correct. :
5 regularly wanting to know if the premiums were being 5 Q. So lt makes sense that unless the person dies within E
6 paid? 6 the first 10 years, this policy makes no sense to 5
7 A. Pre this all transpiring. 7 carry, right, if you're the owner paying on the
8 Q. Right. And so he was very concerned about whether or 8 premiums?
9 not these premiums were being kept up by Mr. Lupiloff 9 A. I've only seen one situation where someone was
10 at the time Lupiloff was paying the premiums? 10 terminally ill, so they continued to pay the premiums.
11 A. Correct. 11 Q. Other than that, after the 10-year term is up, people
12 Q. And then immediately after his death, he wants the 12 shed these policies?
13 policy paid off to his name, correct? 13. A. Correct.
14 A. Well, he wanted to know what the process was. 14. Q. They don't carry them or pay them any jonger?
15 Q. Right, and he's calling you repeatedly even after you 15 A. Correct.
16 tell him you're not the agent any longer? 16 Q. Asa habit and routine, that's what happens?
17 A. Correct. 17 A. Correct.
18 Q. He's rather anxious to get the premium -- I'm sorry -- 18 Q. And so when Mr. Lupiloff turns up dead in 2010 shortly
19 the policy benefits paid out to him, was he not? 19 before the expiration of the 10-year period, did
20 A. The subsequent conversations, you know, he knew -- | 20 something come to your mind as to what might have
21 obviously he was trying to, I think, tell me his side 21 happened?
22 of the story and that he wasn't involved and that 22 A, I didn't make, you know -- obviously my first reaction
23 people were investigating him and things like that. 23 was to be upset and mortified that he had been killed.
24 Q. Would you agree -- 24 Q. Sure, because you knew him? i
25 A. It got off of the life insurance, you know, 25 A. Right. E
Page 54 Page 56 A
1 conversation. 1 Q And you did business with him?
2  Q. When you bound the policy and then when the change | 2 A. Right.
3 took place, did it strike you that once Keene took 3 Q. And then when you pieced some of the evidence together
4 over the premiums and started paying the premiums, 4 in your own mind, the fact that there was a change of
5 that after a certain point of time, there would be a 5 policy ownership and beneficiary, the fact that his
6 cost benefit that would be more of a cost than a 6 kids were removed from the policy --
7 benefit if this term lasted a certain number of years; 7 Hold on, let me finish --
8 do you understand what I'm saying? 8 MR. FISHMAN: Who's testifying now?
9 A. No, 9 MR. DANZIG: I'm asking a question,
10 Q. If you look at the schedule of payments, after 10 counsel.
li year 10, the policy premiums escalate exponentially? 11 BY MR. DANZIG:
12 A. Sure, that's why it's a 10-year term policy. 12 Q. The fact that he was calling and wondering about
13° Q. Right. And after a certain point in time, it would 13 whether the premiums were being pald, the fact that he
14 make no sense to carry this policy economically, would 14 called repeatedly immediately after the death, didn't
15 it? 15 those things strike you as why this death occurred
16 A. Correct. 16 when it did?
17 Q. Because at a certain point in time, you're going to be 17 A. I didn't make the connection to the timing. I was
18 paying beyond the policy benefit? 18 concerned that he was calling and asking about the
19 A. Most people do not pay for it beyond that time. 19 life insurance. Certainly one would make that
20 Q. And ata certain point of time, the rate of return 20 connection.
21 would be detrimental to continue this policy, correct? 21 Q. Did you at any time make that connection and think
22 A. Correct. 22 that Mr. Keene killed Mr. Lupiloff?
23 Q. And unless the person dies at a certain earlier period 23 A. Idon't know who, you know, would have killed him. E
24 of time than later, it would make no sense to carry 24 Would I -- :
25 this policy beyond the 10-year term, correct? 25 Q. I'm not asking you if you know who killed him. I 2
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MARY ELIZABETH REICH

January 4,

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1 asked you whether that thought crossed your mind when | 1 or another, :
2 you pieced together some of the evidence that we've 2 Q. Did you think he was a straight-up Individual? :
3 gone over? 3 A. I didn't have any feelings about it one way or the
4 MR. FISHMAN: Can we go off the record. 4 other. At the time he was just a client to, you know,
5 MR. DANZIG: Sure. 5 the policy.
6 (Off the record at 4:17 p.m.) 6 Q. Did you ever ask Mr. Lupiloff why he was making the
7 (Back on the record at 4:19 p.m.) 7 change in 2007, Why are you doing this?
8 MR. DANZIG: Counsel, are you advising your 8 A. Sure.
9 client after that off-the-record discussion amongst 9 Q. What did he say?
10 counsel that you are instructing your client not to 10 A. He no longer wanted to pay the premiums.
di answer the question? 11 Q. Any other reasons given?
12 MR. FISHMAN: That's correct. 12 A. And I explained to him that just having Mr. Keene pay
13 MR. DANZIG: So you will not allow her to 13 the premiums as a payor was enough, and he said he
14 testify as to her mindset after the fact? 14 didn't care.
15 MR, FISHMAN: Correct. 15 Q. Anything else that you recall?
16 MR. DANZIG: Thank you. 16 A. No.
17 BY MR. DANZIG: 17 Q. Do you recall him stating anything about his kids and
18 Q. You indicated that you filled out the change of 18 their relationship as contingent beneficiaries?
19 beneficiary form. Did you fill out the change of 19 A. No, not any further than the initial concern that he
20 ownership form as well; is that your writing as well? 20 wanted them to be.
21 A. Yes, 21 Q. Were you of the understanding that he knew that
22 Q. That's your writing as well? 22 Mrs, Keene was going to replace his kids as contingent
23 A. Yes. 23 beneficiary?
24 Q. So as best as you recall, you would have filled out 24 A. He knew the beneficiaries were going to be changed,
25 both forms in conjunction with signatures of others; 25 yes.
Page 58 Page 60
1 in other words, other people signed, you filled out 1 Q. Because of the change of ownership? s
2 the forms? 2 A. Yes, and that's why I was advising him, you know, Why
3. A. Right. 3 are you doing this? You know, I didn’t feel it was :
4 Q. Did you ever form any opinions in your mind as to the 4 necessary.
5 nature of the relationship between Keene and Lupiloff 5 Q. And obviously you didn’t know or were privy to any
6 other than what you saw on paper, and I'm referring to 6 conversations before he came in the office to execute
7 that original document attached to Exhibit 1? 7 the documents, correct?
8 A. Iwas just aware that Mr. Keene had been an investor 8 A. Correct.
9 in Gary's business. He had toaned him money. That's 9 Q. Ms. Reich, did you have anything other than a
10 all I knew. 10 professional relationship with Mr. Lupiloff?
11 Q. What I'm wondering -- I'm sorry -- go ahead. 11 A. Professional and he was a friend, and he was involved
12 A. Idid not know of any other -- I don't know how they 12 in a charity with us.
13 knew each other. I don't know anything else about 13. Q. He was involved in a charity that you were involved
14 their relationship. 14 with?
15 Q. Did you ever have a chance to see them together and 15 A. Yes, he donated his time and his screens to running
16 talking together as business people sometimes do? 16 their PSAs.
17 A. No. 17° Q. What was the charity?
18 Q. You never had them in the same room where you can 18 A. Childhelp, one word.
19 assess the nature of their relationship? 19 Q. Did you ever go out socially with Mr. Luplloff?
20 A. Idon't recall. Maybe initially at the very beginning 20 A. No. Because I knew other friends, his ex-wife and
21 but I don't recall. 21 people indirectly, you know, he would have a birthday
22 Q. And you don't have any recollections of that at all? 22 party and a whole group of us would show up perhaps P
23 A. No. 23 but that was it. ;
24 Q, Did you like Keene as an individual? 24 Q. So you attended social gatherings in his presence but fe
25 A. Idon't have any -- I didn’t have any feelings one way | 25 not on a one-on-one basis? :
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MARY ELIZABETH REICH

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Page 61 Page 63}
1 A. Correct. 1 him before and you're adamant as his social
2 Q. Charitable and social? 2 acquaintance and his agent that you not only advised
3 A. Correct. 3 him of the consequences, you recommended him
4 MR. DANZIG: Thank you. I have nothing 4 professionally not to sign it, and he ignored your
5 further. 5 advice, said he didn't care, and signed it in front of
6 EXAMINATION 6 you; is that a fair statement?
7 BY MR. BREDELL: 7 A. Correct.
8 Q. Isit Reich or Reish? 8 Q. And this talk about the beneficiaries being his
9 A. Reich. 9 children, in reality, the policy is to benefit
10 Q. Is Betsy okay? 10 Mr. Keene and the only way his children would stand to
1i A. Yes. ii gain would be if both Mr. Keene and Mr. Lupiloff died?
12 Q. Better than ma'am? 12 A. No. The letter stated, the memo, that as the loan was
13. A. Thank you. 13 paid down, it would pay off whatever loan was
14 Q. You said you were over 50. I'm over 50, too. 14 outstanding, and the balance should go to the
is So, Betsy, I just want to sort of 15 children.
16 generalize this if I can. So you had known 16 Q. Oh, okay. That was in the policy?
17 Mr. Lupitoff it sounds like socially and he knew you 17 MR. SCHMIDT: It's in the letter,
18 sold insurance, so that's how he came to you? 18 Mr. Bredell, last page of Exhibit 1.
19 A. Correct. 19 A. It wasn't reducing the policy, but you would expect as
20 Q. Many of us buy insurance out of a phone book, on the | 20 the loan gets paid down, less is owed on it.
21 intemet, and other of us have insurance agents that 21 BY MR. BREDELL:
22 we know and trust, and your relationship with Gary . 22 Q. But one of the first things that you did, I take it,
23 would be more in the form where he was someone that | 23 is you through Nationwide established that Mr. Keene
24 you knew, you knew him and presumably he trusted you | 24 had insurable interest in this policy?
25 and your advice? 25 A. It's not my job to establish that. It's Nationwide's
Page 62 Page 64 5
1 A. Lassume so. i job. :
2 Q. And having that prior reiationship, you know, you kind 2 Q. But that was something you specifically looked into,
3 of joked earlier, you said you didn't remember some of 3 and you had both of them fill out -- you had
4 the details, you referenced your age, but in reality 4 Mr. Lupiloff fill out forms to establish an insurable
5 as professionals, when we have a document put in front 5 interest?
6 of us, we've met with thousands of people, it's hard 6 A. You know, E don’t recall what all, but yes, it's part
7 to remember much about it, but it's a little easier 7 of protocol of having insurable interest.
8 for you in this case because you remember 8 Q. Okay. And clearly looking at these forms, you
9 Mr. Lupiloff? 9 understood there was a joan, you understood they
10 A. [remember Mr. Luplloff and 1 remember Mr. Keene, yes. | 10 weren't related, you understood the business nature of
11 Q. But I guess what I'm saying is unlike many of your 11 that Information provided to Nationwide, and evidently
12 clients, you had a relationship outside of just 12 someone at Nationwide made the assumption that
13 writing the policy; you knew him socially? 13 Mr. Keene did have an insurable interest when they
14 A. Many of my clients I did. 14 issued this policy?
15 Q. Okay. And I'm pretty confident the reason why you're 15 A. Nationwide makes that decision.
16 here is because there's an allegation that those 16 Q. So when a client -- when an insured doesn't pay their
17 change of beneficiaries were forgeries; in fact, that 17 premiums, are you given notice?
i8 was steted in court. And all these other questions -- 18 A. Not always right away. Eventually, you know,
19 T mean, that's really why you're here. 19 depending on -- again, we changed computer systems.
20 A. Okay. 20 We changed processes all throughout the time period.
21 Q. And what you knew about the form or who signed it and al So that form could have come in many different ways,
22 where you were, I can tell you the reason why you're 22 so I don't recall how.
23 here is because of that allegation. It sounds that 23 Q. Here's the information that I received, and obviously
24 you're adamant that you knew who Mr. Lupiloff was, you 24 this is all after the fact, and you would have gotten 3
25 recognized him, it couldn't be an imposter, you knew 25 the information as it occurred. The information that :

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MARY ELIZABETH REICH

January 4, 2012
Page 65 Page 67 |°
1 T received was that Mr. Lupiloff took out this policy 1 company policy is the beneficiary or any stranger to
2 for this business purpose after Mr. Keene loaned 2 the policy, nonowner, can't be told?
3 Mr. Lupiloff money. Mr. Keene couldn't get any 3 A. Should not be told.
4 information about the policy because he wasn't a named 4 Q. Should not be told. And so does it seem iogical to
5 insured? 5 yau that the goal here by Mr. Keene was to make sure
6 A. He wasn't the owner. 6 that he was going to make the payments, that he could
7 Q. Thank you, he wasn't the owner, and so I also 7 be insured that he would stay the owner of the policy?
8 understood that there was times when Mr. Lupiloff 8 A. ButI think you could just become a payor, also.
9 wasn't making the premium payments. I'm wondering 9 Q. Right, but if you're the payor, the owner could change
10 when you became aware of that, that Mr. Lupiloff was 10 the beneficiary; isn't that true?
1i late on some of the premium payments? 11 A. Correct.
12 A. Late, yes. 12 Q. And so what could happen is if Bill Keene had
13 Q. Do you know whether he skipped any? 13 continued to pay the policy, there would be nothing to
14 A. I don't recall. 14 prevent Mr. Lupiloff from removing Bill Keene as the
15 Q. And here's what I've been led to believe, and I just 15 beneficiary; isn't that true?
16 -- and there's really no way you'd know that unless 16 A. If Mr. Lupiloff was the owner?
17 you had some independent information. I was trying to 17 QQ. Right.
18 see whether you can rule it in or rule it out. I 18 A. I would imagine.
19 understood that, you know, Mr. Keene loaned this 19 Q. And my understanding is before these change orders
20 money, he was trying to secure this debt with the 20 took place, that Mr. Lupitoff was making the payments
21 policy. Then ] understand Mr. Keene found out that on 21 and then -~ in the records -- it’s nat a trick
22 several occasions Mr. Lupiloff wasn't making the 22 question. I'm not trying to test your memory. I
23 payments, and that's why Mr. Keene was calling you to 23 guess [am trying to test your memory. The reason why
24 find out, to get some kind of guarantee that the 24 -
25 payments were being made, and eventually Mr. Keene and | 25 A. I think it was a combination of people making payments
Page 66 Page 68
1 Mr. Lupiloff had a conversation saying, Well, listen, 1 at that point.
2 Bill, why don't you just take over the policy, you 2 Q. The reason for my question was we have some different
3 make the payments, and stop nagging me to make the 3 billing statements and early on ones that are being
4 payments because I don't want to make the payments. 4 sent to Gary Lupiloff's address and then later on
5 Does that sound like a version of what you heard about 5 they're being sent to Bill Keene's address?
6 this change of beneficiary? 6 A. I think he had requested to become the payor. I don't
7 A. Idon't know what the entire conversation was. 7 recall exactly but that was not done through me.
8 Q. But did you hear any version of that? By that J mean, 8 Q. Eunderstand, I understand. But as far as you know,
9 did you hear that, A, I think you told me that 9 if he just -- if Mr. Keene had just become the payor,
10 Mr. Lupiloff didn't want to make the payments; he told 10 there would be nothing to prevent Mr. Lupitoff from
11 you that? 11 removing Bill Keene as beneficiary and making Bill
12 A. He was not excited about making the payments. I 12 Keene's daughters primary — I'm sorry --
13 remember that. But I don't, you know -- do I recall 13 Mr. LupllofPs daughters as primary beneficiary on the
14 him saying, I'm not making the payments, no, I don't | 14 policy?
15 recall that. 15 MR. SCHMIDT: I object to the form of the
16 Q. And do you know whether the policy ever was in 16 question. She doesn't have the foundation to know
17 jeopardy of being cancelled? 17 whether that can be done or not.
i8 A. I don't recall. 18 A. It comes down to, you know, whatever request goes in,
19 Q. And is it true that if someone's a beneficiary of an 19 it goes in to be approved by Underwriters, I would
20 insurance policy with Nationwide at that time, that if 20 guess, or Service Center.
21 a policy is being cancelled or changed, that the 21 BY MR. BREDELL:
22 beneficiary isn't told? 22 Q. Inthis case, Mr. Keene was advised and he signed the
23 A. I don't recall. 23 forms because he became the owner, right, of the
24 Q. But certainly if the beneficiary or anybody else calls 24 policy?
25 up and wants to know the status of a policy, the 25 A. Iwas trying to hear your -- say that again.

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MARY ELIZABETH REICH
January 4, 2012

Page 69 Page 71 :
1 Q. I'm going to ask you a little different question. If 1 So it sounds like it was more than just 3
2 Mr. Lupitoff simply wanted to make a change of 2 asking who was on the policy. This sounds like the i
3 beneficiary, you wouldn't have to have the beneficiary 3 first letter to begin the process to make the change; i
4 come in, right; you can just do that with a form and 4 would you agree with that? :
5 you can send it off to the home office? 5 A. Somebody made an inquiry.
6 A. Correct. 6 Q. But more than an inquiry; they also requested
7 Q. And so for these people who get mad at one kid or the 7 information to change?
8 other and they threaten to take them out of the will 8 A. Idon't know.
9 and they change the policy, you never have to tell the 9 Q. And I notice on that October 19th letter, you did
10 kid you did that, you forgive the kid when you sober 10 receive a copy of the letter?
ii up, you can undo it and the kid never finds out, 11 A. Itsays so, yes.
12 right? 12 Q. Iknow, so that means you don't remember, I know.
13. A. Technically, yes. 13° A. Imean, I don't recall, and frankly, do you always get [:
14 Q. You don't have to bring the kid in each time and say, 14 every letter that's cc'd to you?
15 Okay, I'm cutting you out, I'm cutting you in; it's up 15 Q. No. I told you that I don't read the stuff addressed
16 to the owner's discretion? 16 to me, not only cc'd to me.
17 A. Correct -- 17 MR. SCHMIDT: That explains a lot of stuff.
18 Q. And so even though -- 18 MR. BREDELL: It does. Mr. Schmidt will
19 A. -- to make the request. 19 vouch.
20 Q. To make the request. And so even though you said that | 20 BY MR. BREDELL:
21 Mr. Lupiloff could have simply had Mr. Keene pay the 21 Q. When any of this was happening and the letters were fs
22 premium, you were speaking as Mr. Keene's (sic) friend | 22 coming in, did you ever bump into Gary Lupiloff and
23 and insurance agent in giving that advice, not as 23 ask him, What's going on, Are you switching the .
24 Mr. Keene’s insurance agent? 24 policy? Did you ever have any discussions outside of E
25 MR. SCHMIDT: I think you misspoke. 25 business? :
Page 70 Page 72 2
1 MR. BREDELL: Let me start over. I'm just 1 A. No, but I mean, had I seen that letter, I would have |°
2 trying to establish a simple proposition. I'm 2 initiated a conversation with him.
3 obviously making it complicated. 3  Q. Okay. So your habit would have been to have --
4 MR. SCHMIDT: You're succeeding. 4 A. That would be, to me, that would be my typical
5 MR, BREDELL: Thank you. 5 behavior with anybody, not just Gary but anyone like, |:
6 BY MR. BREDELL: 6 Oh, are you planning te do something, and see how I
7 Q. Ithink I understand that if Mr. Lupiloff kept the 7 can service them, But I don't recall -- I don't
8 policy in his name and made Bill Keene the payor, 8 really recall that letter.
9 there would be nothing to prevent Mr. Lupiloff from 9 Q. And this policy was taken out in 2006 -- I'm sorry --
10 eliminating Mr. Keene from the policy? 10 2003?
11 A. Ido not know that. 11 A. Yeah.
12 Q. But you can't disagree with my statement? 12 Q. So the premiums would escalate in 2013? :
13 A. Idon’t know because I don't know what hadto {13 A. Well-- :
14 transpire at the Service Center -- 14 MR. SCHMIDT: it's right in the policy, 3
15 Q. Okay. 15 counsel. The schedule is right there, whatever page :
16 A, -- in that kind of situation. 16 thats. Page 304. :
17 Q. Allright. And you were shown a letter dated 17 BY MR. BREDELL: E
18 October 19th, and counsel made it sound unusual that a {18 Q. Did you ever give Mr. Keene a copy of the policy? °
19 person would inquire about the status of the 19 A. Did I ever give him a copy? fe
20 beneficiary, and it started off: We received your 20 Q. Yes. *
21 request for beneficiary information. 21 A, Not that I'm aware of, no. :
22 And then the next line of that letter says: 22 Q. Do you know whether Nationwide sent him a copy of the E
23 If you wouid like to change these designations, please 23 policy?
24 complete the enclosed application and return it in the 24 A. Thave no idea.
25 envelope provided. 25 Q. And so even though Mr. Keene would call you frequently

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MARY ELIZABETH REICH

January 4, 2012
Page 73 Page 75 |.
1 to find out the status of the policy, it's your 1 A. Okay. ;
2 testimony that once he began making the payments, 2 Q. Do you have an independent memory that you observed
3 those calls went away; he stopped calling you? 3 Mr. Lupiloff sign his name but then after that you S
4 A. Idon't recall him calling as frequently, if at all. 4 then signed your name?
5 I don't recall, 5 A. On the one where I signed?
6 Q. Soit's possible from the time the change of 6 Q. Yes.
7 beneficiary went into effect making Bill Keene the 7 MR. DANZIG: That's the beneficiary form.
8 owner of the policy until the time of Gary Lupiloffs 8 BY MR. BREDELL:
9 death, it's possible you never spoke with Mr. Keene? 9 Q. The beneficiary form.
10 A. It's very possible. 10 A. I witnessed his signature. I saw him -- I shouldn't
11 Q. And then I know after -- 11 use that word -- I saw him sign his name, yes.
12 A. You know, there was -- I did speak with him. I'm 12) Q. All right.
13 sorry. Yes. 13. A. Wherever he had to sign his name.
14 Q. When was that? 14 MR. BREDELL: All right. That's all I
15 A. I don't recall exactly when it was, but he had called 15 have. Thank you.
16 asking some questions about Gary's business, which I | 16 MR. SCHMIDT: All done?
17 didn't feel I could share with him -- 17 MR. BREDELL: Yes.
18 Q. Oh, okay. 18 MR. DANZIG: I just have one or two more
19 A, -- that I was insuring at the time. 19 just on that matter.
20 Q. So it wasn’t information you would have gained as an 20 RE-EXAMINATION
21 insurance agent; it would have been something you 21 ~BY MR. DANZIG:
22 Might have known -- 22 Q. He signed his name on the change of beneficiary
23 A. No. It was about his policles, and I didn't feel he 23 designation and then you witnessed it?
24 should be privy to information, 24 A. I don't recall who signed first. I'm guessing he
25 Q. And then after the death of Mr. Lupiloff and then at 25 would have signed first. That would be protocol.
Page 74 Page 76 ;
1 the time this litigation was started, I'm assuming you 1 Q. That's why I asked it that way. Okay. Now on the es
2 received a lot of calls about those forms, the 2 contingent owner change of beneficiary, there are two
3 signature on the forms? 3 signatures on that document. One is allegedly
4 A. From whom? 4 Lupiloff's and one allegedly is Keene's.
5 Q. Mr. Keene. 5 A, Okay.
6 A. No, 6 Q. Were they in whatever office they were in separately :
7 Q. You said he cailed you a bunch -- 7 and signing separately, or did they sign together? fs
8 A. Not about the signatures. 8 MR. FISHMAN: Asked and answered but you :
9 Q. Iknow I called you a couple times, and I apologize if 9 can answer.
10 it was -- 10 MR. DANZIG: I don't think so.
11 A. Well, until the attorney part all started, but no. 11 MR. FISHMAN: It was.
12 Q. Okay. 12 BY MR. DANZIG:
13 A. His calls were not about that. 13° Q. Go ahead.
14 Q. Okay. And so those were the -- you said the numerous 14 A. They each signed but not at the same time in the same
i5 calls were not about the signature or the beneficiary 15 presence.
16 form? 16 Q. And do you recall who signed first? :
17 A. I don't recall them being about that. 17 A. Ido not but I'm guessing -- I don't know. :
18 Q. Okay. The one form that you had a question whether 18 Q. Would it be standard protocol for the owner changing :
19 you witnessed it versus witnessed it; do you remember 19 the ownership status to sign first as opposed to the ;
20 that? 20 new owner?
21 MR. FISHMAN: Page 5, 21 A. It would make sense that Gary signed all the paperwork
22 A. Whether I saw it being signed versus did I witness it | 22 at the same time,
23 legally? 23 Q. And then does it make sense to you that Keene would
24 BY MR. BREDELL: 24 have come in wherever you were afterward to sign?
25 Q. Yes. 25 A. Yes.

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MARY ELIZABETH REICH

January 4,

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Page 77 Page 79 |:
1 Q. Does that strike you as the way it went? 1 MR. DANZIG: Thank you.
2 A. Yes. 2 BY MR. DANZIG:
3 Q. And you still don’t know where you were at? 3. Q. Did you ever come across that thought?
4 A. I don't recall where because I had met with Gary on 4 A. I don't think force. I think in the beginning it was
5 this matter in different places several days, you 5 a requirement that he needed ta have this done, and
6 know. I had presented it to him. We talked about it. | 6 that's why they came forward with this request.
7 fT asked him to wait and think about it. So I don't 7 Q. And last question. What made you believe that he was
8 recall where we actually ended up signing it at this 8 expressing some requirement that he engage in this
9 point. 9 process?
10 Q. How many meetings would you say you had with him over | 10 MR. SCHMIDT: When you say "this process",
11 these change issues, more than two? 11 you mean -- /
12 A. Maybe three. 12 MR. DANZIG: The change request.
13. Q. And phone calls as well? 13 MR. SCHMIDT: She didn't say anything about
14 A. Possibly. 14 the change. You're misstating what she said.
415 Q. So you met with him and taiked to him over the phone? 15 A. Oh, no, no. E meant taking out the initial policy,
16 A. Just, yes, regarding explaining the ramifications. 16 that it was something that was required as a matter of
17 Q. Sounds like an ongoing issue of concern or discussion 17 the loan, but there was never -- I never had a sense
18 between you-agent and him-client? 18 of any force.
19 A. Taking the time to -- trying to schedule a time to 19 BY MR. DANZIG:
20 meet to do the actual signature. But also we were 20 Q. Did you get a sense that he was dragging his feet for
21 talking about other insurances at the same time. 21 any reason, Mr. Lupiloff?
22 Q. Did he ever express reservations about engaging in 22 A. That he didn't care to -- he didn't want to keep
23 this -- 23 paying it. It was just something he didn't want to
24 A. No. 24 pay.
25 Q. - change? 25 "MR. DANZIG: Okay. Thank you.
Page 78 Page 80]-
1 A. No. 1 RE-EXAMINATION :
2 Q. Never? 2 BY MR, BREDELL:
3 A. No. 3 Q. In your business do you use the term "informed
4 Q. Did he ever express reservations about changing the 4 consent"?
5 contingent beneficiary from his daughters? 5 Let me explain what I mean by that word. I
6 A. No. 6 have clients who make a lot of decisions that may
7 Q. Did he ever express to you concerns about Mr. Keene? 7 affect their future rights, you know, like signing off
8 A. No. 8 on benefits or certain things, and I look at it as
9 Q. Did he ever tell you he was scared of him? 9 part of my job is to make sure that the client -- I
10 A. Hedid not. 10 assume they're all adults, some of them are
11 Q.. Did he ever tell you that he was worrled about what 11 intelligent, assuming Gary was, and so I see my job as
12 might happen to him with regards to this policy? 12 explaining the ramifications and letting them make an
13. A. No. 13 informed decision. It's not really my place to make a
14 Q. He expressed no concerns, no reservations, no thoughts 14 decision for them or tell them what's best for them.
15 to you as a friend or agent about the relationship he 15 And so I'm assuming in these meetings that ‘
16 had with Mr. Keene vis-a-vis this insurance policy? 16 you had, you saw it as your job was to make Gary aware F
17 A. No. He implied it was just -- it was an 17 of all the ramifications of his decision, and then if
18 inconvenience. It was something that he had to do, | 18 he stil! wanted to do it, he was your client, he was
19 and he didn't really want to do it, obviously dragged { 19 paying the policy, he was a grown man, it was up to
20 his feet on payments. 20 him, and so that's what I cail informed consent,
21 Q. Did he ever make it sound like Mr. Keene was forcing 21 making someone aware of the ramifications so they can
22 this issue on him? 22 make an informed decision in knowing all the
23 MR. BREDELL: These are ail beyond the 23 ramifications. Do you think that's what you did?
24 scope of Cross. You had your chance to examine this 24 A. I think that's what I've expressed, yes.
25 witness, so I object to it. 25 MR. BREDELL: Okay. That's what I thought,

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20 (Pages 77 to 80)

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MARY ELIZABETH REICH
January 4, 2012

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1 too. Thank you.
2 MR. SCHMIDT: All set?
3 MR. BREDELL: Yes.
4 (The deposition was concluded at 4:47 p.m.
5 Signature of the witness was not requested by
6 counsel for the respective parties hereto.)
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Page 82 i
1 CERTIFICATE OF NOTARY °
2 STATE OF MICHIGAN ) :
3 )ss :
4 COUNTY OF MACOMB ) :
5 %
6 I, LEZLIE A. SETCHELL, certify that this
7 deposition was taken before me on the date
8 hereinbefore set forth; that the foregoing questions
9 and answers were recorded by me stenographically and :
i0 reduced to computer transcription; that this is a
11 true, full and correct transcript of my stenographic
12 notes so taken; and that I am not related to, nor of E
13 counsel to, either party nor interested in the event
14 of this cause.
is
16
17 :
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19 :
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21 ;
22 LEZLIE A. SETCHELL, CSR-2404 f
23 Notary Public,
24 Macomb County, Michigan.
25 My Commission expires: April 17, 2012

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CERTIFICATE OF NOTARY

STATE OF MICHIGAN  )
) ss . . :

COUNTY OF MACOMB )

I, LEZLIE A. SETCHELL, certify that this
deposition was taken before me on the date
hereinbefore set forth; that the foregoing
questions and answers were recorded by me
stenographically and reduced to computer
transcription; that this is a true, full and
correct transcript of my stenographic notes so
taken; and that I am not related to, nor of counsel
to, either party nor interested in the event of

this cause.

Bogs Oboe Sell

LEZLIE A. SETCHELL, CSR-2404

Notary Public,

Macomb County, Michigan

My Commission expires: April 17, 2012

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